Case 1:21-cr-00198-TSC Document 59-1 Filed 10/15/21 Page 1 of 2




                   EXHIBIT A
    Case 4:05-cr-00012-MAC-AM
           Case 1:21-cr-00198-TSC
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                                                 Filed 10/15/21
                                                           Page 1Page
                                                                  of 1 PageID
                                                                       2 of 2 #: 16


                                                                                           FILED: 2/14/05
                             IN THE UNITED STATES DISTRICT COURT                       U.S. DISTRICT COURT
                                                                                     EASTERN DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS                      DAVID J. MALAND, CLERK

                                          SHERMAN DIVISION

    UNITED STATES OF AMERICA                        §
                                                    §     Cause No.    4:05CR12
    V.                                              §
                                                    §     Judge Schneider
    TROY ANTHONY SMOCKS                             §

         ORDER FOR WRIT AND WRIT OF HABEAS CORPUS AD PROSEQUENDUM

           The Petition for Writ of Habeas Corpus Ad Prosequendum of the United States Attorney

    for the Eastern District of Texas in behalf of the United States of America, on this date came on

    for consideration, and it appearing to the Court that the Petition states good and sufficient cause

    for the issuance of the Writ of Habeas Corpus Ad Prosequendum as requested, it is now hereby,

           ORDERED and DIRECTED that the United States Marshal, Eastern District of Texas

    and the Warden of the Missouri State Prison shall produce and have the body of TROY

    ANTHONY SMOCKS, Defendant herein, who is detained in the custody of the Warden of the

    Missouri State Prison before the United States District Court for the Eastern District of Texas,

    Sherman, Texas, instanter, the said Defendant to appear for Initial Appearance/Arraignment and

    for all further proceedings upon an Indictment pending in the above-styled cause; and to return
.
    the said TROY ANTHONY SMOCKS, Defendant herein, to the custody of the Warden of the

    Missouri State Prison under safe and secure conduct at the conclusion of all said proceedings

    hereafter ordered by this Court, and have you then and there this Writ.


            SIGNED this 14th day of February, 2005.

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                                                    ____________________________________
                                                    DON D. BUSH
                                                    UNITED STATES MAGISTRATE JUDGE
